UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 22cr105 (DLC)

-V¥r- : ORDER

JAMES VELISSARIS,

Defendant.

DENISE COTE, District Judge:
This Order is entered, pursuant to Federal Rule of Criminal
Procedure 5(f), to confirm the Government’s disclosure

obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, and to summarize the possible consequences of violating
those obligations.

The Government must disclose to the defense ail information
“favorable to an accused” that is “material either to guilt or
to punishment” and that is known to the Government. Id. at 987.
This obligation applies regardless of whether the information
would itself constitute admissible evidence. The Government
shall make good-faith efforts to disclose such information to
the defense as soon as reasonably possible after its existence
becomes known to the Government, so as to enable tne defense to
make effective use of the information in the preparation of its

case.

The Government must also disclose information that can be
used to impeach the trial testimony of a Government
witness. Such information must be disclosed sufficiently in
advance of trial in order for the defendant to make effective
use of it at trial or at such other time as the Court may order.

The foregoing obligations are continuing ones and apply to
materials that become known to the Government in the future.
Additionally, if information is otherwise subject to disclosure,
it must be disclosed regardless of whether the Government
credits it.

In the event the Government believes that a disclosure
under this Order would compromise witness safety, victim rights,
national security, a sensitive law-enforcement technique, or any
other substantial government interest, it may apply to the Court
for a modification of its obligations, which may include in
camera review and/or withholding or subjecting to a protective
order all or part of the information otherwise subject to
disclosure.

For purposes of this Order, the Government includes
federal, state, and Local law-enforcement officers and other
officials who have participated in the investigation and
prosecution of the offense or offenses with which the defendant
is charged. The Government has an obligation to seek from these

sources all information subject to disclosure under this Order.

If the Government fails to comply with this Order, the

Court, in addition to ordering production of the information,

may:
(1) specify the terms and conditions of such production;
(2) grant a continuance;
(3) impose evidentiary sanctions;
(4) impose sanctions on any responsible lawyer for the
Government;
(5) dismiss charges before trial or vacate a conviction
after trial or a guilty plea; or
(6) enter any other order that is just under the
circumstances.
Dated: New York, New York

February 22, 2022

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DEWIiSE COTE
United Stajtes District Judge

